              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:13-cr-00043-MR-DLH-3


UNITED STATES OF AMERICA        )
                                )
                                )
                  vs.           )                ORDER
                                )
                                )
JOHN NEWBERRY.                  )
                                )
_______________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment as to the Named Defendant [Doc. 152].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

152] is GRANTED, and the Bill of Indictment is hereby DISMISSED

WITHOUT PREJUDICE as to the Defendant John Newberry.

     IT IS SO ORDERED.            Signed: June 6, 2014




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